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UNITED STATES DISTRICT COURT
DISTRICT OF COLORADO

Civil Action No. 1:20-cv-2475-NYW
Deborah Laufer, an individual,
Plaintiff,

V.

Randall J. Looper,
Defendant(s).

 

PLAINTIFF'S NOTICE OF SUPPLEMENTAL AUTHORITY

 

Plaintiff, Deborah Laufer, by and through undersigned counsel, hereby

submits this Supplemental Authority in support of her standing.
SUPPLEMENTAL AUTHORITY

In Laufer v. U.L.S.T., LLC dba Waterfront Hotel & Marina, 2020 U.S. Dist.
LEXIS 206417 (N.D.IIl. 11/4/20)(“Watefront’), a court in the Northem District of
Illinois denied a motion to dismiss advancing arguments that are identical to those
made by the Defendantin the case at bar.

The Court rejected the defendants argument that Carello v. Aurora
Policemen Credit Union, 930 F.3d 830 (7' Cir. 2019), provided any basis for
denial of standing for informational injury. /d., pp. 6-8. As the Waterfront Court
noted, Carello was strictly limited to instances where the plaintiff was legally
barred from using the using the defendant's services. Id., **9, 10-12.

The Waterfront Court observed that the Carello decision made several

points:
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First, that the Care/io Court held that plaintiff's status as a tester does not
deprive her of standing. /d., **11-12.

Second, that the Carello Court acknowledged that dignitary and
informational harms can qualify as injuries-in-fact. /d. *13.

Third, that the Care/io Court held an informational injury occurs when the
defendant refuses to provide the plaintiff with information that a law entitles the
plaintiff to obtain and that the plaintiff need not allege any additional harm beyond
his failure to receive information that the law renders subject to disclosure. /d.,
**42-13.

Significantly, the Waterfront Court reasoned that a plaintiff has standing to
sue even if they did not intend to book a room. In this respect, the court held:

What Carello reinforces is that absent such a legal barrier, informational
and dignitary injuries do suffice to support Article Ill standing. And that is
exactly what Laufer alleges here. She claims that the inadequate
disclosures about Waterfront’s accessibility “deprive her of the information
required to make meaningful choices for travel,” and that she “suffer{s] ...
frustration and humiliation as the result of the discriminatory conditions
present’ on the hotel’s booking pages. [] Thus, even absenta concrete plan
to visit Johnsburg, Laufer has standing to bring this ADA suit.

Id. **12-13.
The Waterfront Court also held:

Waterfront next submits that the complaint fails to state a claim, arguing
that the ADA “requires the hotel to accommodate Ms. Laufer’s disabilities
[only] if she desires to stay there.” [] As explained above, however, Laufer’s
alleged injury is not the inability to stay at Waterfront; rather, it is the
inability to determine whether she can stay there, as well as the stigmatic
injury resulting from Waterfronts failure to make accessibility information
available.

Id. **13-14 (Emphasis supplied).
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In this respect, the Waterfront opinion joins the growing body of district
court decisions holding that encountering a discriminatory online reservations

system gives rise to injury-in-fact that an intent to book a room or travel to the area

is not required.
CERTIFICATE OF SERVICE

| hereby certify that a true and correct copy of the foregoing was served via

the Court's electronic filing system upon all parties of record this November 13,

2020.

/s/Suzette M. Marteny Moore
Suzette M. Marteny Moore

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